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 4
     Attorney for Defendant
 5   RICARDO MANZO-RANGEL
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10                                             –ooo–
11
      UNITED STATES OF AMERICA,                    CASE NO. 3-05-70670-BZ
12                  Plaintiff,
13    vs.
14                                                 STIPULATION TO WAIVE
      RICARDO MANZO-RANGEL, et al.,                DETENTION HEARING
15
16                  Defendants.

17                                             /

18
19          IT IS HEREBY STIPULATED AND AGREED by and between Michael
20   Stepanian, counsel for defendant Ricardo Manzo-Rangel, and Susan Jerich, Assistant
21   United States Attorney, that the detention hearing presently set for Tuesday, August 23,
22   2005 at 9:30 a.m. is waived without prejudice to its renewal at a later time. Arraignment
23   is set for 8/30/2005 at 09:30 AM.
24   ///
25   ///
26   ///
27   ///
28
            Case 3:05-cr-00555-CRB       Document 13      Filed 08/29/05    Page 2 of 2



 1   Counsel desires to waive this hearing based on the fact that Mr. Manzo-Rangel is illegally
 2   in this country and there is an INS hold placed on him.
 3
 4
 5    Date: August 22, 2005                     /s/ Michael Stepanian
 6                                              MICHAEL STEPANIAN
                                                Counsel for defendant
 7                                              RICARDO MANZO-RANGEL

 8
 9    Date: August 22, 2005
                                                /s/ Susan Jerich
10                                              SUSAN JERICH
                                                Assistant United States Attorney
11
12
13   SO ORDERED:                              _____________________________________
                                              BERNARD ZIMMERMAN
14   DATED: August 29, 2005                   United States Magistrate Judge

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